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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :      19-CR-752 (JMF)
                                                                       :
CHRISTOPHER ANSAH,                                                     :          ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
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JESSE M. FURMAN, United States District Judge:

         Given the ongoing public health situation and the limited number of courtrooms that could
safely be used for jury trials in the coming months, the judges of this District have a plan to determine
which criminal cases, if any, should be tried in the coming months and when. Under the plan, the
Court has until November 15, 2020, to submit a request with respect to any case that it wishes to try in
the first quarter of 2021. (Even then, there is no guarantee under the plan that the Court would get its
choice of date(s). And, of course, it is unclear whether any jury trials will be feasible given, among
other things, the difficulties inherent in impaneling jurors at this time.)

         No later than October 26, 2020, the parties shall file a joint letter indicating their views on
(1) whether this case should or must be tried before March 2021 or whether trial should be adjourned
to a later date; (2) whether and when the Court should hold a conference to discuss the matter; and
(3) if applicable, whether time should be excluded under the Speedy Trial Act until the next court
appearance. If either party believes that there is a need for a conference in the short term, counsel
should indicate their views on whether the Court can, consistent with the Constitution, the Federal
Rules of Criminal Procedure, the CARES Act, and any other applicable law, conduct the conference by
telephone or video and, if applicable, whether the Defendant consents to appearing in that manner
and/or to waiving his/her appearance altogether. (If the Defendant is detained, counsel should also
identify the facility in which the Defendant is held. And if the Defendant is not detained, counsel
should indicate whether the Defendant would be capable of participating in a telephone or
videoconference.)

       After reviewing the parties’ joint letter, the Court will issue an order indicating whether or
when it intends to hold a conference and addressing any other relevant deadlines and
information. Because the Court may decide to convene a conference between the date of the letter and
the November 15th deadline, counsel should indicate in their joint letter dates and times in that
window that they (and, if applicable, the Defendant) would be available.

        SO ORDERED.

Dated: October 19, 2020                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
